               UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF TENNESSEE
                         AT GREENEVILLE




UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )           NO. 2:04-CR-79
                                                   )
JAIME VARGAS QUINTANILLA                           )




                                   ORDER

            This criminal matter is before the Court to address the

Government’s Motion for Reconsideration of the Court’s order dated June 10,

2005. In his motion to suppress, the defendant contended that the 5 kilos of

cocaine seized from his vehicle on October 20, 2004, should be suppressed

because his consent to search as not voluntary based upon the totality of the

circumstances.

            On August 28, 2004, Officer Sollie Rabun, III, who is employed by

the Johnson City Police Department in Johnson City, Tennessee stopped a

vehicle driven by Aldrich Salvador Vallejo Villareal for improper display of

registration. At that time, he found a small amount of marijuana, and he arrested




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Villareal for simple possession and possession of drug paraphernalia. After

releasing Villereal, Officer Rabun learned that Villereal’s fingerprints were

identified as belonging to an individual using the name Rigoberto Ortiz.

             On October 19, 2004, Officer Rabun observed Villereal driving a

silver grayish colored Nissan Altima. Before Officer Rabun could turn around

and stop Villereal, the vehicle vanished. On October 20, 2004, Officer Rabun

saw the same vehicle and observed that Villereal was a passenger in that vehicle.

He then stopped the vehicle for the express purpose of arresting Villereal for

criminal impersonation.

             After arresting Villereal and placing him in his police vehicle, Officer

Rabun asked Jaime Vargas Quintanilla, the driver, and Felix Torres Jose Carlos,

another passenger, to exit the vehicle. Although Officer Rabun had no

suspicions in regard to these two individuals, and although he asked to search the

vehicle because he suspected there were drugs in the vehicle because of

Villereal’s prior possession of marijuana, Officer Rabun had the authority to

search the passenger compartment and to ask the other occupants of the vehicle

to exit it after he arrested Villereal in order to assure officer safety and to prevent

the destruction of evidence. See Thornton v. United States, 541 U.S. 615, 124

S.Ct. 2127 (2004); Knowles v. Iowa, 525 U.S. 113, 116, 119 S.Ct. 484, 487-488


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(1998).

            The Court FINDS that any intrusion from ordering the passengers out

of a car, which was already stopped, was necessary to the officer’s safety and

minimal. See Maryland v. Wilson, 519 U.S. 408, 17 S.Ct. 882 (1997) .

Therefore, based upon the totality of the circumstances, the Court FINDS that

the defendant’s consent to search his vehicle including the trunk was voluntary.

            Accordingly, it is hereby ORDERED that the Magistrate Judge's

Report and Recommendation is ADOPTED and APPROVED, [Doc. 103] that

the government's motion to reconsider is GRANTED, [Doc. 147], that the

Court’s order dated June 10, 2005 is VACATED, [Doc. 134], and that the

motion to suppress filed by the defendant is DENIED. [Doc. 67]. This case

will proceed to trial on July 19, 2005.



            ENTER:

                                              S/J. RONNIE GREER
                                              UNITED STATES DISTRICT JUDGE




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